Case 22-11068-JTD    Doc 2745-1   Filed 09/28/23   Page 1 of 3




                     EXHIBIT A
                    Proposed Order
                   Case 22-11068-JTD         Doc 2745-1      Filed 09/28/23       Page 2 of 3



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                      :
                                                      :   Chapter 11
    In re                                             :
                                                      :   Case No. 22-11068 (JTD)
                                   1
    FTX TRADING LTD., et al.,                         :   (Jointly Administered)
                                                      :
                                  Debtors.            :
                                                      :   RE: D.I. __________
                                                      :



                  ORDER GRANTING THE U.S. TRUSTEE’S MOTION TO COMPEL
                 THE AD HOC COMMITTEE OF NON-U.S. CUSTOMERS OF FTX.COM
                    TO COMPLY WITH THE COURT’S ORDER OF JULY 10, 2023

            Upon consideration of the United States Trustee’s Motion to Compel the Ad Hoc Committee

of Non-U.S. Customers of FTX.Com to Comply with the Court’s Order Concerning the Verified

Statement of Eversheds Sutherland (US) and Morris, Nichols, Arsht & Tunnell LLP Pursuant to

Bankruptcy Rule 2019 (the “Motion”); and finding that due and sufficient notice of the Motion was

given; and it appearing that the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334, and this is a core proceeding under 28 U.S.C. § 157(b)(2); and after due deliberation and

finding that there is good and sufficient cause for the relief set forth herein, it is hereby ORDERED

as follows:

            1.      The Motion is GRANTED.

            2.      The Ad Hoc Committee of Non-U.S. Customers of FTX.Com shall have fourteen



1
      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are
      3288 and 4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a
      complete list of the Debtors and the last four digits of their federal tax identification numbers is not
      provided herein. A complete list of such information may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.ra.kroll.com/FTX.
              Case 22-11068-JTD        Doc 2745-1      Filed 09/28/23     Page 3 of 3



(14) calendar days after entry of this Order to comply with this Court’s Order Denying the Ad Hoc

Committee of Non-US Customers of FTX.com’s Motion to File Under Seal (I) Verified Statement of

Eversheds Sutherland (US) LLP and Morris, Nichols, Arsht & Tunnell LLP Pursuant to Bankruptcy

Rule 2019 and (II) the Declaration in Support of the Ad Hoc Committee of Non-US Customers of

FTX.com’s Motion to File Under Seal the Verified Statement of Eversheds Sutherland (US) LLP

and Morris, Nichols, Arsht & Tunnell LLP Pursuant to Bankruptcy Rule 2019 [D.I. 1858], entered

on July 10, 2023, including providing the unredacted actual address of each member of the Ad Hoc

Committee of Non-U.S. Customers of FTX.Com.

       3.      If the Ad Hoc Committee of Non-U.S. Customers of FTX.Com does not comply

with the requirements of paragraph 2 of this Order within fourteen (14) calendar days after entry of

this Order, then such committee shall not be permitted to be heard in these cases.



Dated: ___________________                           _______________________________
       Wilmington, Delaware                          The Honorable John T. Dorsey
                                                     United States Bankruptcy Judge
